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1    STEVEN W. MYHRE
     Acting United States Attorney
2    District of Nevada
     CRISTINA D. SILVA
3    Nevada Bar No. 13760
     FRANK J. COUMOU
4    501 Las Vegas Boulevard South, Suite 1100
     Las Vegas, Nevada 89101
5    Phone: 702-388-6336
     Fax: 702-388-5089
6    cristina.silva@usdoj.gov

7                 UNITED STATES DISTRICT COURT
8                      DISTRICT OF NEVADA
                                          -oOo-
9
     UNITED STATES OF AMERICA,              )
                                            )   Case No.: 2:17-cr-00180-JAD-PAL
10                                          )
                    Plaintiff,              )   STIPULATION TO CONTINUE
11                                          )   GOVERNMENT’S RESPONSE TO
           vs.                              )   DEFENDANT’S MOTION TO
12                                          )   SUPPRESS (ECF No. 203)
     EVERLY JAMES,                          )
                                            )
13                                          )
                    Defendant.              )
14

15
                 IT IS HEREBY STIPULATED AND AGREED, by and between Steven W.
16
     Myhre, Acting United States Attorney; and Cristina D. Silva, Assistant United
17
     States Attorneys, counsel for the United States of America, and Christopher Oram,
18
     Esq., counsel for defendant EVERLY JAMES, for the reasons set forth herein, that
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     the Government’s response to defendant’s motion to suppress (ECF No. 203),
20
     currently due on October 19, 2017, be continued for six weeks for the following
21
     reasons:
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 1               1. Counsel for the Government advised the Defendant that there is

 2   additional evidence that could extend the currently charged conspiracy. Counsel for

 3   the Defendant would like to see that additional discovery so the parties can

 4   potentially engage in plea negotiations. The Government is currently producing that
 5   additional information to the Defendant and his Counsel.
 6
                 2. Further, Defendant’s counsel set scheduled to commence a first-degree
 7
     murder trial in the State of Nevada in the next two weeks. The trial will limit
 8
     counsel’s availability to file a reply to the Government’s response.
 9
                 3. The defendant is in custody and but does not object to the continuance.
10
                 4. Additionally, denial of this request for continuance could result in a
11
     miscarriage of justice because it will prevent the Defendant from receiving and
12
     reviewing additional information with his counsel, and his counsel the opportunity
13
     to file a fulsome reply to the Government’s response.
14
                 5. This is the first request for continue the response to the motion to
15
     suppress.
16

17
                 DATED this 19th day of October, 2017.
18
                                                    STEVEN W. MYHRE
19                                                  Acting United States Attorney

20                                                        /s/
                                                    CRISTINA D. SILVA
21                                                  FRANK J. COUMOU
                                                    Assistant United States Attorneys
22
                                                         /s/
23                                                  CHRISTOPHER ORAM, ESQ.
                                                    Counsel for Defendant James
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1                   UNITED STATES DISTRICT COURT
2                        DISTRICT OF NEVADA
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3
     UNITED STATES OF AMERICA,                  )
                                                ) Case No.: 2:16-cr-00062-LRH-GWF
4                                               )
                    Plaintiff,                  ) ORDER
5                                               )
           vs.                                  )
6                                               )
     EVERLY JAMES,                              )
                                                )
7                                               )
                    Defendant.                  )
8

9                                       FINDINGS OF FACT

10         Based on the pending Stipulation of counsel, and good cause appearing

11   therefore, the Court finds that:

12               1. Counsel for the Government advised the Defendant that there is

13   additional evidence that could expand the currently charged conspiracy. Counsel for

14   the Defendant would like to see that additional discovery so the parties can

15   potentially engage in plea negotiations. The Government is currently producing that

16   additional information to the Defendant and his Counsel.

17               2. Further, Defendant’s counsel set scheduled to commence a first-degree

18   murder trial in the State of Nevada in the next two weeks. The trial will limit

19   counsel’s availability to file a reply to the Government’s response.

20               3. The defendant is in custody and but does not object to the continuance.

21               4. Additionally, denial of this request for continuance could result in a

22   miscarriage of justice because it will prevent the Defendant from receiving and

23


                                                1
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 1   reviewing additional information with his counsel, and his counsel the opportunity

 2   to file a fulsome reply to the Government’s response.

 3               5. This is the first request for continue the response to the motion to

 4   suppress.
 5               For all of the above-stated reasons, the end of justice would best be served
 6
     by a six-week continuation of the deadline for the Government to file its response to
 7
     the Defendant’s Motion to Suppress (ECF No. 203).
 8
                                             ORDER
 9
           IT IS ORDERED that the Government’s deadline to respond to the
10
     Defendant’s motion to suppress, currently scheduled for October 19, 2017, be vacated
11
     and continued to _________________________,
                              November 30        2017.
12
           DATED this 26th day of October, 2017.
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                                               _______________________________________
15                                             THE HONORABLE PEGGY A. LEEN
                                               United States Magistrate Judge
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